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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                   Plaintiff,
      v.                                      CR. NO. 06-20063

                                              Hon. Lawrence P. Zatkoff
D-1 PATERNO M. DOREZA
D-2 MANUELA R. DOREZA,

                   Defendants.
                                          /


             ORDER ADJOURNING MOTION CUT-OFF DATE

      THIS MATTER, having come before the Court on the stipulation of the parties:

      IT IS HEREBY ORDERED that the motion cut-off date is extended from April

4, 2006 to May 4, 2006. All other scheduled dates shall be unaffected by this

Order.

      The Court finds that, based upon the reasons stated in the stipulation, the ends

of justice are served by granting this adjournment and therefore the time from April

4, 2006 to May 4, 2006, constitutes excludable delay under the Speedy Trial Act. 18

U.S.C. 3161(h)(1)(I) and (h)(8)(B)(iv).

SO ORDERED:

                                       s/Lawrence P. Zatkoff
                                       HON. LAWRENCE P. ZATKOFF


Dated: March 29, 2006
